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AO 245B (Rev. 09/11HVAED rev. 2) Sheet 1 - Judgment in a Criminal Case



                                          UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                            Alexandria Division

UNITED STATES OF AMERICA
                     V.                                                    CaseNumber:             1:16CR00163-001



MOHAMED BAILOR JALLOH,                                                     USM Number: 90187-083
                                                                           Oetend^ntS iAttOrney. JosephT Flood, Esquire and Faimalui{ajaJa11oh.Esquin
Defendant.


                                           JUDGMENT IN A CRIMINAL CASE



   The defendant pleaded guilty lo die single count Criminal Information.



   Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

Title and Section                   Nature of Offense                           Offense Class              Offense Ended                 Count


18 U.S.C. 2339B(a)(l)               Attempting to provide material              Felony                    July 3,2016                Criminal
                                    support to a foreign terrorist                                                                   Information
                                    organization




  As pronounced on Februaiy 10th, 2017, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to 18 U.S.C. 3553 and the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. If ordered lo pay restitution, the defendant must notify the couil and United States Attorney of material
changes in economic circumstances.

   Signed this               day of February, 2017.




                                                                                             /s/
                                                                         Liani O'CiidJy
                                                                         United Slates District Judcje
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